Case 01-01139-AMC Doc 8546 Filed 06/03/05 Page iof3

i913 Aindecy
HIG LS] UT L 0} Ado
GUNS Y apisinig Jo SUN} :pesoop aay SLye]D
. ON TOU LNG “VNU
re * ud pyedord adeysod "rau ssh[o Jal Ady “Apred POLE FEMl] GIP) Oo POTLEL SRA, Gano stay,
AING ABN WOO PAM Yow
MUS ABU]

NVA TD GAL SY S0uO374 HNO NO Ga LLLLLSSOS 28 TILA SHSASK
WALL ‘Ga ATTIRE LOA St NOLLAD CAG YWOA 41 PS]sparse aq [jum Bucroy 7 uoTsafan HR BULLE O46 IT

"Ud! }oafqe and wy ~ "OK LORELNGO3 TYNAN 67 13393
WMRIGASN VEL FL OL NOUOArO UNA 10 AdOD ¥ ONT

TORBL Ady “wOPTULT AS
EZS WaoY Joang EY pzE
STRANTIOC JO T[NSTC]

yaoD Amdioueg sare Pauyy
TALLITA, MAISNY AL FHL OL NOLLDITAO NALA ¥ OTL

LLSQI 0A “TOLLON STH 30 W1LVd FAL AO SAYC Ot NIELUM ANYI9 BOA AO
WIUSNVUL FHL OL LOGPAO NGA al Hexamoy “WE]S UNDA JO JAISURT Af) o} }alqd ru dp not J pasinbad s wopse on

TOOOL AN Oto A NaN
SOGZ HIN “SeaSLYy alg JO aA o18
V1 Ende? soqrey ayy
8) fsaprd Junoon
Aq padundys AjEnojAaid stayin) pavaysueny wae sny ‘Os 'Erg' Ls JO Junowe ay ut ange HOA BH CRS INGA JO uepsiren oy

$1900 “Ih OStatic

Stes. KOG Od

BUD Mapuy

WOW Lies} WwTUg] (23055 Ep
(AONASUBT) SOL

TE OUDE PIN dead OL INYAStod WEY dO Ga4SN VELL LON

yf aRAL
AONACL
OS a20°2g nowy
(421 [10 ON 38855 tapun pRaaysiutupy Aputor)

‘1239 GELIG-1O ‘ON BSED:

LT] 4aidega : "TE 6 * Ory 28 a UA,

tal ty
x

LEMAR EE FO PIA
HnoD Ad MIyUEY ses psy
Case 01-01139-AMC Doc 8546 Filed 06/03/05 Page 2of3

oR | sug

np Te WITEE) Pres JO SOUNTEY aly ‘ore oy sanzn Armco amBlsmy Agro Maple aeteay ye “punt ‘satiate Oy [9 0) pPaulsep Aqatatt ey sneeey
"fade pastyoind #hottis au ya somes UT TEMG LF UY PERTTI APRS WIT 9M TRAD ON AT

n PAO aa Rey rer Ot it tT faa eer Ter TES PE A ea ee “opaubeyyroorindat

Th yep tetir yta ES a ee peal hep DESL rer ere eee abel yt att fre ay

ma EMSS NIETIGIINY LINCS) SUG LANA FOTIOUTE Lam soy 91 UE ITYPAUOY StF Wa polsr In “PayTMTD.W LAMUMUOE ‘PEyRPTARAT Oe Ak aTHPMLION Bly MO eIsT] Bo
STPEUS Su TO LST, CRE Sy WAS SAR FE 00 pred Ut a afor wE exsosperta Umer Ane JO patqedtiry Asin ope co a pats Aaminice eames

BY PT) a EA Le OGG 0g AY BSL ACL TE TO tana plte MT sad Pautendodned sepUUTy cei Oa eH of soaude mona

RRC FO Ue yr SPP OTE pC Wee Ue eTRAT HITE

Ua si} oper (eSuphamvord =U AT] TNO; } wD 70 SOTR op boy epqayDAn It HMINET TUT BURNOUT) Slspioldde paluacy sty ious se LOTeUZOTHT Bens WO
Party put ‘SRUR iar y Uo ontreros Ars PUT AGHEpMocapLT RPTL ML Tety Pla MOTO) oO wIeE a1 ALAEUNBEL Mole pep pTLag] TA Ua ANAL Oy SBeMpERaaty
a1f JO STORIE ap PUG JO} PAY 7o LopPp UNS FOAL pln BURLING Bt} Supctesoos uogeMoy ayenbape sey Th yetR SytesEIes SOME DTS FU

70 FOR|OC] 37 SEI Sasory aty oy SUTUTSL OPEL! Laypo Tuo 20 (ASTALTSTO 70 [RIOLNATE) ANyheey Wo woTTpu vty ‘sBinpesoogy doy fo ss oly Apa
JOULES Y 0) UATOR ra HANIA AU SpROd Say GELALESTy JO BAMMLODALEAL IO Duan ALM JOU Tana AAS ATS itp Lt tptoy yes ee
ylnore aR eS pEpMOUNON TOMAS wOnETMoas Jo und eBupgtOs JopIO PUY BO ADUs [AUN peNytLieLep Arsio AYA we JOU Metts PON torte pn
FAIR LUTE) Sugy 01 Faacised ties SALTON SUP TE Me aT ATR GUS a UT SOE ALT acy ASWNSIAL PAGE TI LOU SNE oy MATTE!

(UTR Yetts Josjos O) Seay fig PRONSET sasy ASIN] pA 05 FT ABH On See Ast uso ‘ALed

AO AID Of [HS fo [USLTIOSE YO USTED Yatooon Uo aSiiSY Aq Patani Sean pepep pb se PUNOLTE WATT MO (ter) Mire! SAgsAyTpL

TEROPIPPS WW oO} FENba wmooT im snl LouAwSY Of PeuTENY An pred SpMOTM TO sales! Op ONTIQUTEt Atos] (PRLS AUTOS HE en Ley “Spee 20

JUMUPSST LAG Uoid Jo FUTIOTe to Ses BATE AN eI Tepe) CATE OY Joatleal Wi WONTLOGLSTp PATO TE AY] RATANAL TON SAOD sare pile “WiteLs

SIQ] ADT HARASS UP IG 2G LIS REeee PATO Ta [NY ore psoas Anueey pe tyes, We avptoee frets eo pealsaad see ro Ayre one tee og CEE

GU] [PSE 10 Waeea Sap 70 PION A PaUicce get Attad pup, ATE bo “TORE Sy We WORIaLOD ip zs ya UbevATIme parame to tfvig Ut gmesmeced rena Alen

AMIGA! Sa0p 2a eu io Aqred range un ty HLH] T) Aa 49 £0 tse weer Jo pps J Dalsenne SEL LOTR Ren SAAS th Be JAY sey Aqaet WOE
5 a Bre an

Phe ‘anys orf du oy 36 exe} erp 30 jumetem

Ay Satpe o, dumd sage Arm 20 INqAart Js {Tad UA 0 Aq payor Tad GAUTT UIT] BURLLIAD Hitoiiked Mintiniexeg! to Keyuayap to RAO

OL 7 DSF Ty PUT ARO Reed AEL KO PUY ANG FO SAMUTIQUIMOUS Th RysbIaAAN] Aymiass “etary pe pus AL po any MATS ATR O} ANA EO PUB sling

a0uidiviry jen "amrd who afottan UN dated pan Aue oy watery aig palfperd ze pyos paufiaen Apsmornaad you ey auuidheayt ep! nT 1p yo woGANpeT

Tired Jo Te op Manthey YsnoNg Sue Aum! A AMD Aq oo ioeiney Ag pantasal Uae, sety glinlttAned OL LeU], Pusat ag

Rouse “puSuTasae Euro Aue op ales MOTE ST WUTC) op] “AIOTTPAIG PASO dpttie tela [SUL Ra] a peIMARy SSAL TO MORGAN Jo eallided

aga| AB Mot iodbad tareyn et) 0 jomdeas wy Auaaitaed seuneT yy Ln pasar Tyee pote sTEOTSERNe Je onphins Ie Aum ur peeeeos pou eo Lowtomy furo

By Adin UOTRBUUIND Ifo fo Tot Epstes TOI IO TE ee Ue I setter ho Aled py Ave Aq 29 “OAM Aq Patan iseq Sey LONNgIap wo

Jo yisated on ‘stay By] , itepiodoe I Joudieny umes aqnentofue Hues y Jn peemeariA Sumy pum aay TARA IY SyRlbstlod juaTusarhy

Ag FuScRSay say uitopiad pind taalTSp ‘eae cy AMA pA aod aba sty) Set MOUaSY pure souEisay Aq Totenden ply peyton

‘PRON ATP wasy say Takes Eph Anlisiesy Ad TUSLIRIY any Jo ooMMUTayTId! PM AmmAtjap “uotnoaxa ou, pL WOKS} I ISTATATO

1g ‘o} Uotiptios © 9e pesmibed sy aeyoeueipe 10 diene 'syetortoe wa Bete "enondda yuwsuoe on tropa ony wihede Luteps spapeatope “ATA

OAPI) St UONs St C.STPERE,,) Ojatalhy SUNNNPUE TCH Ate PLE SATUTG HIE IO ATMONTNS Sue Ur MOAT any Ae pian St PUT NIBTAG LOE at OY Modine fo

PAM POTD PR PEA FT ANNA FPR ATT RLITURC) SAIN UTE SRR] FEM AT OTIC) OL}? ATORT? Oy A ANE UOT TAT IMATE ATT AEY

a ‘ Z
ja 40, ON aa 40 159 PM erLig eg Awe aman
4
#0 RQovaT FU] WO GIT IN PHAN ONS 79 Fovead Fe IPRS QUept 8} Pay yUe an, Aye pith fleuieaaty stog Jo auEAy
ig O} Josfany Tua) Jo FOUR FTA JO RAO My pAltingp Hd SFafay TEAST ays FAusteSy ‘OANCN IO} Jus gLite
WITT) SG KIO SRAM MAU UTD TO Fooly AN TY tay Soe OF peUD cy TEED JO Jobs NEMS 16
Adoa sy & pun} sieqpeMDed Sp) uy payy ApeuaT Pet App mg AAI Jo TUNOTE ay UY MTS FO OON yO

‘SAUTp ESOT GY UT PALE EMT AOL SY MITEL To Joos ye 1 e.
. Pg aaw oa, 1
C'sal Mapa y 4g NOTIN? {GR TC oa ane URN Pen OFA IEEE OUBSEY

os

ely N aus 0-1 s020908} peodopur Agdattaas 9 SiON og PautaRp Bq Jou [YE PUD UOROETAS
oY Yo nsadnnd ay) taf coming etn serene TRUORIPUNETOT PUTT ByTFOSGA LU PETRaAp AN (TRtpy {LAUTAISSE ST] PLM MOTEE IIS wd Re MOIATC] Aq acme
Oy POG SUMO UO PASRY STANTS PULL “UTRTD A F6 UNNERgSHUE HE AAR Aa ponset Ao pred oq AOU Yona Adored wpe pum silauiMa “sapoToEs
ATRERA [M pue “BenoHaro] oy fo Aue gy SUREPEL IG JAPON Ving FLPSG sipaueg PoE HA AIDS pula Puno tien svyeToy “Sed pony ANS an Top
ALM expe St TOI ACT eng] IRUREATY Toa Yoo SaRTGN “SAMA CANTTO FTN UTE kathy ou OT poaelsor uplens pd any Aen 1p (as “Atha Jr “woay PUw FaATD ARS
3 the oF Tea TWNUy [[P Sajanal 6] SUT a lOMiaeY OTE MO[a4 Gey USpr Aue FUMED Jo JOON Sty oar oNAA AIpMISK “UMAT Aly] OY duneral soudsry
A . < A\toiter pu SUSE jit PU Sabehegtes mp ssal JOU Je TALON uggs ApieaBT My IE LEE TOTO Pal aveD PEL) PMIYNTET YY Salror) [ee
GELTOT SOM OSEy (gOS, my) aeNCL EL LO SENT uray An MNG Sones paRTME] OF MT (Sau ANLY,, am) woyeA AMATO mf RAMEE ANE
UT SEOVACL “Eq TOMTECEy) TS FS My ap PvE) “AT tay UTS (,TATETO, tf) OT Jor AT} mede wrDUL se IOUBTEMY Jo StpHES Ao LR RAY OY pire UE yor TAp
ire bp RY BLOUaNeey 16 Te C,WOUETSEYY,) TOODT AN “HIG, Aten] ‘GOEZ 2g “ASEAUTY ety Jo sauna Lp Ye ACDIPpD We Amey TT TENCE

anqlery eg Pe TT yeutlen Loge, INT FpN UL USTs “THLLAYD MOH MT Mul OF syst Anata sob “(ody aM, Of):
st Jo URIS OIL FO Uoqeepinnes tr (oun) aaa ' 2 Soaps Suet b hie henpedodco tans] fa ene”

I i tosyi id Yt Loa) ee” -

xf BA. gnaw soow7ia » wrod io av
ae

EAA = BSSSA PRE OO Wed ELS AT Tei Dart? = S@la-al—-Gad

obey
Case 01-01139-AMC Doc 8546 Filed 06/03/05 Page 3of 3

&A‘d TeLOL

SEO
Mayne wie] pals BL
PUTY S98 Li.

4D PAs,
Tile WUQTeeY Aa» perpen

H tte dats 7, aft potany jut

a2 cry gp HE BAY

cm ' yo dup SAT PURE Att Sjes cqunaraq Iota paudaiapen oy] tse IMAA SSTNILAL AT
‘ACS 21H JO (9) 1008 APY 0} PrEASINd soOU eATaaGT Of MERE AL (R) pile ‘Oyaray eCAlO
ALE Sat op IML EYE) Suton cepmtwey fuTR WTB) 30 FLEUR Oo ope ty In pew SE lp JO [Ud oF smueeunD perm SepoTMOMDSY Adan JOLY WR
JO PROTA Stig SuprFen AAMT Jo won eAgen Ae ple ye IM Jog0 Yooo artofel SSLMiSey ple LOUSY WON TURD OTS fo ETE 1 aeEpLyTA
a reubheyy 0} foun unuysy ety ermpmun wenden fupAs Oty By “GTM ATO (9) 1008 SIV Ok testa uorpazsspp ators PUR appE 6 cautery
if “ACRORTSHOR Jer Sf BOUT IY $f douse Oy Sloe LaF at Paks Apembesqns Aunt wotdy png et re ‘iaslemy “HEL OUT IG ease anp
MMI ed sat esy ayn TOOTS Ory 0] eedisos pew Lae] FTPBTN Hef Aaqinedieg JO Sapry Peay mip ye £2) LONE Spty of penetnd apsay ya
SSTOU T opy Oy omifimny sezwog gin Aqorsy zoulomy ‘wAMTD JD SUEY eth oO sfleel omyYLSE poms sy 70 SARA 0) UMP 9 Juue ey ted
BEATA CNY INSSNOD WAT AL ONY ENSSNI05

‘Amt

Aq [Eh 8 PURUIP 07 JURH aT SeATeM IOHEIETY lepUTarny LOQeE ANE UR pits THE Jo Wankdlieny Mn tT yt} 143 ssamppE oT} J soteanly oy ssamord
Pave JO AGUS a WUE Ag OWS WOK $1] ABUE 9BSoCUKT jo TOTkIau JET FRETS pm ELMON sp moa Yona dq Jonny MAG ton trpectol peumsmed PRAIA
PUP 01 SIUAMLoD Lea pie ION MASE CUS BEML UT PeSOOT LIMOS Tepe 16 SIGS ANE (tt teeneno oq KUL MOTT JO Mes san oy Seea

40 JepUn SUnSETn BORAT ANY HOA May Jo ORY Ot JO SALO] OUR ALA aoUEpros UT PENARIOS Pus An pomoadh aq PUNE HOPI) ge GURNEE,

juries fate

DSSS O} PeMIeRD 39 EUS Jalpedoy Beg Cuedsaymns ysis je pun gyrediayeniog IT Payiods ax ACUI MTT 20 ANS rn, “aL ae-a

one AL PO ITB jo proWNesy ERD Jo AranitSp pure UOQTASA MP AALATIS {SiS UEIey Apel Ter IMU pum wodabueserdos py PEI gO MUSA
SHY O} DUR Up eet Sey Fo eayUy PIE OTN, Aer a tau Tepe “OM mpl WAaees acy Ace pe Anuroaubreny sty teSpapsceon Aq

“ulutjooa pie arosrapatie sAbsadsor
AAI] PUR saUriSy ‘oUttesy Aq a[qqeannap Aq, Hite TO Tawad sty oy atu [pee Alte wodn Finpung og (pate mane fel usury sey fo sus SH,

geutrery 01 radon yore ouEL oy Arageaade GuauMoop 44 slattrasopua
ACY WU Fae Denese! Lena antes allt Ut Auadosd yotty At eAntsey Oy Tengap Coda PEBttety 2 weil sepep pour yn) Apelimosd "asuedRe
mad Se Tad pure yoy i Apediatd yone ppoy pire JOURSRY yetn poe Tudo anpoeRT we sey eeu OTA OL oniissy to Auedor! apaynetion (Oy
VArtadoury nto Alte to jiretirigsig “peytmans “quae Jo Moy bt) RY SagRe a “LUTE 2m JO JUMIOIE Lic uobliisry iq peatael WOATETOSTY Aue Jem] scorn
W ALT AOS aia Tit mau ee ATLL SSSISSe Fe ‘SEES RORT SULT GEE ang op rome sen Upfn ME STO OTIS BITS 0} ITA "Ne SI lon
a Uy paasiase Bi ea " o Tatts
Ail ssromseretom en tea won een ta eee LU ce aeRRSY
Lg rg agi o Sores 14 IIR ycee Sasi AY SLSAD ‘Sl Geo Slav 1d Wyo Path bing wep
maa rag SET sau a9 akon 4AM Aor Oo & Shey a SUESU0S pice TUORNORAL ITO
me ioe HpeuRsS sqeudomcle Jo vat “wy yey FU FA TSANG 3 THT.) FL FO NSCOR WO SHORTED Jo Apauaied Aut
PU TET.) FL JO PRN ae eye 09 SRQEIAR 10 AMeeeoad oo ARI oh OmmarS ane Sye 2a DTT ASIP IpbIis con Od soa EY Sahutpreaay
AIL UE Fintona Io APPT STE sty PUeD UG aACHe Oo) LGTae Aira TL OE eT RaIO OU EARL, EUs DRY Uti ayos sReniiony ye eed
WpOTls aSPAISHE OF AITPAP to ssronncs AM RATS Tag PRE eI nis it ArtoyslTp am yTastamd sny Aig pelUce? smmol ai [OI Ragas Soa “Ut
Jo weary oy Oy fumed spur aang Sec an Pus WBS ain sero o Ammasanen RMD Te Op oO] Aoqme [ry soe opt Syed lose
“PAME prod thasaly LITAhCy St Jo yttmione INS 58 JOE aqudtnd BUR Ap ‘SwsoNay LapAeraLy ABE 10 “are sons Fe SRT ONS TTR MACnAs pure wean
“A9] ANS “PIRATIA Of Rae RAGUSA YU Ne Cy SEY PATIO ple ALOR TMA UD ALO AIESr ceUNETY TUpOdeN AtqneaAnET AQRmUL JOLY

METHOD 1h 0] Paper ORY Oy PEO SETTO TO PIMOS Mo Pastoda RPTL Ae Se Oy LTR APR p tag UE FOLEY PTE oy
PORTE 2g YRS aM MTD at FOF red Sey Be TSNy ptie PeRaPERD OT wae ARITA 5 TOFORG STR TNL Aa Sip an SL ee poEMGUS ITU

VOMaCT AL Ad Uopealo Aum Oo joalyns Jou sf PUG JOT are FIG SL UT PML USA aL METS SUE JOT UOTE Se
VoOdn OLCISRY 0] MUS Tnd TONE TRLLO! [SUE BaUElNNY BADE Pay tads PONTE ATT ALG SLM FARINA 0 IO Ueelal) Hed Unpaid auTEs

EGER "a = ASSSAPEEL, OD OMI THaks oTayel Sea: tl sSear-Stas
